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  Description Appearance Sheet for the United States District Court Western District of
                Virginia Charlottesville Division; Sines et al v. Kessler, et al; Case No.
                3:17CV72; Date: 4/19/18; Type of Hearing: Disc; Parties: 1. USMJ Joel C.
                Hoppe; 2. Roberta Kaplan; 3. Alan Levine; 4. Philip Bowman; 5. John
                Rottenborn; 6.Richard Spencer; 7. James Kolenich; Recorded by : H.
                Wheeler; Time in Court: 9 min
  Date          4/19/2018 Location [CVILLE-3-FTR]
Case 3:17-cv-00072-NKM-JCH Document 302 Filed 04/19/18 Page 2 of 2 Pageid#: 2079
Appearance Sheet for the United States District Court Western District of Virginia Charlottesville
                                                                                    [CVILLE-3-FTR] Di

      Time         Speaker                                   Note
   3:04:25 PM     1
   3:05:59 PM     2
   3:06:06 PM     1,2
   3:07:12 PM     1,2
   3:07:43 PM     1,3
   3:08:04 PM     1,7
   3:08:21 PM     1,7
   3:09:38 PM     1,2
   3:10:08 PM     1,6
   3:11:54 PM     1,2
   3:12:20 PM     1,2
   3:12:50 PM     1,7
   3:12:58 PM     6
   3:13:02 PM     1,2
   3:13:07 PM     END




4/19/2018                                                                                      2 of 2
